Case 2:23-cr-00196-KBH Document1 Filed 05/03/23 Page 1 of 8

Filed Under Sea!

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 23-
v. : DATE FILED:
: VIOLATIONS:
RAMIZ DUKA 18 U.S.C. § 844(n) (conspiracy to commit
XAVIER RAMOS LEAL : malicious damage by means of fire of a
building used in interstate commerce — 1
count)
FILED UNDER SEAL
INDICTMENT
COUNT ONE

THE GRAND JURY CHARGES THAT:

At all times material to this indictment:

i: 1388 Bridgewater Road, Bensalem, Pennsylvania, within the Eastern
District of Pennsylvania, was a warehouse used in interstate commerce. In December 2022, the
warehouse was being leased by an internet-based book business which utilized the warehouse for
the storage of materials, including books. This company’s products traveled in interstate
commerce.

2. The owners of the warehouse received rent from the business that was

renting the warehouse, affecting interstate commerce.
Case 2:23-cr-00196-KBH Document1 Filed 05/03/23 Page 2 of 8

3; From in or about November 2022 continuing through at least December
19, 2022, within the Eastern District of Pennsylvania, the District of New Jersey, and elsewhere,

defendants

RAMIZ DUKA and
XAVIER RAMOS LEAL

conspired and agreed, together and with an individual known to the grand jury and identified
herein as Person |, charged elsewhere, and other individuals unknown to the grand jury, to
commit the offense of malicious damage and destruction, by means of fire, of a building used in
interstate commerce and in activities affecting interstate commerce, in violation of Title 18,
United States Code, Section 844(i), namely, the building located at 1388 Bridgewater Road,
Bensalem, Pennsylvania, within the Eastern District of Pennsylvania, and personal injury to a

public safety officer resulted.

MANNER AND MEANS

It was part of the scheme that:

3. On or about December 10, 2022, Person | ignited multiple fires which
damaged the real property and the property items located at and inside 1388 Bridgewater Road,
Bensalem, Pennsylvania.

6. In exchange for setting this fire, defendant RAMIZ DUKA paid defendant
XAVIER RAMOS LEAL and Person | $15,000. Half of this money was provided before the
fire was set, with the reminder provided after the fire was set. Defendant RAMOS LEAL and
Person | split the $15,000 between the two of them.

OVERT ACTS
In furtherance of the conspiracy and to accomplish its objects, defendants RAMIZ

DUKA, XAVIER RAMOS LEAL, and Person 1, together with others unknown to the grand
Case 2:23-cr-00196-KBH Document 1 Filed 05/03/23 Page 3 of 8

jury, committed the following overt acts, among others, in the Eastern District of Pennsylvania,
the District of New Jersey, and elsewhere:

L: In or about November 2022, on a date unknown but prior to November 28,
2022, defendant XAVIER RAMOS LEAL and Person | met with defendant RAMIZ DUKA in
the District of New Jersey to discuss causing damage to the warehouse at 1388 Bridgewater
Road. Defendant DUKA asked defendant RAMOS LEAL and Person | to damage the
warehouse for “the owner,” who defendant DUKA said was a friend of his. “The owner” wanted
to collect insurance money as a result of this damage, and defendant DUKA agreed to pay
defendant XAVIER RAMOS LEAL and Person | to damage the warehouse. Defendant DUKA
provided defendant XAVIER RAMOS LEAL and Person | a key to enter the warehouse at 1388
Bridgewater Road.

De On or about November 28, 2022, defendant XAVIER RAMOS LEAL and
Person | traveled to 1388 Bridgewater Road, Bensalem, Pennsylvania, to look at the warehouse.
They attempted to use the key provided by defendant RAMIZ DUKA to enter the warehouse, but
it did not work.

3) On a date unknown, but several days after November 28, 2022, defendant
XAVIER RAMOS LEAL and Person | met with defendant RAMIZ DUKA again in the District
of New Jersey to discuss the plan to damage the warehouse at 1388 Bridgewater Road.
Defendant RAMOS LEAL and Person | returned the key that did not work to defendant DUKA.

4, On or about December 6, 2022, defendant RAMIZ DUKA met with
Person | in the District of New Jersey. Defendant DUKA provided Person | with a new key to

access 1388 Bridgewater Road.
Case 2:23-cr-00196-KBH Document 1 Filed 05/03/23 Page 4 of 8

> On or about December 7, 2022, defendant RAMIZ DUKA met with
Person | in the District of New Jersey. Defendant DUKA provided Person | $7,500 in cash as a
down payment for the damage to be done to 1388 Bridgewater Road. Person | provided a
portion of this money to defendant XAVIER RAMOS LEAL.

6. On or about December 10, 2022, Person | traveled to 1388 Bridgewater
Road, Bensalem, Pennsylvania, where he entered the building using the key provided by
defendant RAMIZ DUKA. Once inside, he set multiple fires inside the building.

?, On or about December 10, 2022, after the fire was set by Person | to 1388
Bridgewater Road, defendant RAMIZ DUKA met with Person 1 in the district of New Jersey.
Defendant DUKA provided Person | with an additional $7,500 for starting the fire. Person 1
again provided a portion of this money to defendant XAVIER RAMOS LEAL for his assistance
with the conspiracy to damage 1388 Bridgewater Road by fire.

All in violation of Title 18, United States Code, Section 844(n).
Case 2:23-cr-00196-KBH Document1 Filed 05/03/23 Page 5 of8

NOTICE OF FORFEITURE 1

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:
LE As a result of the violations of Title 18, United States Code, Section
844, set forth in this information, defendant
RAMIZ DUKA
shall forfeit to the United States of America any property constituting, or derived from, proceeds
obtained directly or indirectly as a result of such violations.
2. If any of the property subject to forfeiture, as a result of any act or
omission of the defendant(s):
(a) cannot be located upon the exercise of due diligence;
(b) _ has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other
property of the defendant(s) up to the value of the property subject to forfeiture.

All pursuant to Title 18, United States Code, Section 982(a)(2).
Case 2:23-cr-00196-KBH Document1 Filed 05/03/23 Page 6 of 8

NOTICE OF FORFEITURE 2

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:
L; As a result of the violations of Title 18, United States Code, Section
844, set forth in this information, defendant
XAVIER RAMOS LEAL
shall forfeit to the United States of America any property constituting, or derived from, proceeds
obtained directly or indirectly as a result of such violations, including, but not limited to, the sum
of $7,500.
2. If any of the property subject to forfeiture, as a result of any act or
omission of the defendant(s):
(f) cannot be located upon the exercise of due diligence;
(g) has been transferred or sold to, or deposited with, a third party;
(h) has been placed beyond the jurisdiction of the Court;
(i) has been substantially diminished in value; or
(j) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant(s) up to the value of the property subject to forfeiture.
Case 2:23-cr-00196-KBH Document 1 Filed 05/03/23 Page 7 of 8

All pursuant to Title 1&, United States Code, Section 982(a)(2).

A TRUE BILL:

CESS /prn

JACQUELINE C,. ROMERO
UNITED STATES ATTORNEY

Case 2:23-cr-00196-KBH Document 1 Filed 05/03/23 Page 8 of 8

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